            Case 2:16-cr-00305-KJD-VCF          Document 48      Filed 01/10/17      Page 1 of 1




1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                       ***

4
      UNITED STATES OF AMERICA,
5
                            Plaintiff,
6                                                          2:16-cr-00305-KJD-VCF
      vs.                                                  MINUTE ORDER
7     KAREEN ANDERSON, et al.,
8                           Defendants.
9            Before the Court is Defendant’s Motion and Proposed Order to Withdraw as Counsel (ECF No.
10   44).
11           Accordingly,
12           IT IS HEREBY ORDERED that a hearing on Defendant’s Motion and Proposed Order
13   to Withdraw as Counsel (ECF No. 44) is scheduled for 11:00 AM, January 17, 2017, in Courtroom 3D.
14           The U.S. Marshal is directed to transport defendant to and from the hearing.
15           DATED this 10th day of January, 2017.
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                                                                 CAM FERENBACH
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                                                                 UNITED STATES MAGISTRATE JUDGE

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